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                                                                                              2018 Oct-19 AM 10:43
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION
SUSAN ISMAIL,                                    )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )    Case No.: 2:18-cv-01345-JHE
                                                 )
ASCENSIONPOINT RECOVERY                          )
SERVICES, LLC,                                   )
                                                 )
       Defendant.

                                    SCHEDULING ORDER

       This order is entered under Fed. R. Civ. P. 16(b) based on the parties’ report of a
planning meeting. (Doc. 12). This order governs further proceedings in this action unless
modified for good cause shown.


1.     Pleadings and Parties: Unless the party’s pleading may be amended as a matter of
       course pursuant to Fed. R. Civ. P. 15(a), the party must file a Motion for Leave to
       Amend. Such Motion for Leave to Amend shall state, specifically, those matters the party
       wishes to add or delete and shall contain, attached as an exhibit, the complete and
       executed Amended Complaint or Amended Answer, which is suitable for filing. The
       Motion for Leave to Amend, with the attached amended pleading, shall be served in
       accordance with Fed. R. Civ. P. 5.

       Plaintiff(s) should be allowed until November 1, 2018 to join additional parties and until
       November 15, 2018 to amend the pleadings. Defendant(s) should be allowed until
       November 30, 2018 to join additional parties and until December 14, 2018 to amend the
       pleadings.


2.     Dispositive Motions: All potentially dispositive motions must be filed no later than
       June 1, 2019.1

3.     Expert Testimony: Unless modified by stipulation of the parties, the disclosures of
       expert witnesses--including a complete report under Fed. R. Civ. P. 26(a)(2)(B) from
       any specially retained or employed expert--are due:



       1
         The parties are directed to refer to the Initial Order entered in this action for specific
briefing and submission requirements for dispositive motions.
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       From plaintiff(s):            by January 8, 2019

       From defendant(s):            by March 4, 2019


4.     Discovery limitations and cutoff:

       (a) Unless modified by stipulation of the parties:

       Depositions:                          Maximum of 2 by each party.
       Interrogatories:                      Maximum of 25 by any party directed to any other
                                             party.
       Requests for Production:              Maximum of 25 by any party directed to any other
                                             party.
       Requests for Admission:               Maximum of 30 by any party directed to any other
                                             party.

       (b) Unless modified by court order for good cause shown:

       Supplementation:       Supplementation of disclosures and discovery under Fed. R. Civ.
                              P. 26(e) shall be due as required pursuant to Federal Rules of Civil
                              Procedure 26.

       Deadline:               All discovery must be commenced in time to be completed by
                               May 1, 2019.

       Privileged Material: Pursuant to Fed. R. Evid. 502(b) and (d), the inadvertent disclosure
       of any privileged communication, information, document, or ESI shall not operate as a
       waiver of the privilege in this or any other proceeding to the extent the producing party
       complies with the requirements of Fed. R. Evid. 502(b) and Fed. R. Civ. P. 26(b)(5)(B).2

5.     Additional conference(s): A pretrial conference will be scheduled on or before August
       2019, in a separate order.

6.     Final lists: The court will establish deadlines for the exchange and filing of final witness
        and exhibit lists and objections under Fed. R. Civ. P. 26(a)(3) at the pretrial conference.

7.     Trial: The parties shall be ready for trial on or before September 2019, to be scheduled
       by separate order.



       2
          Before filing a motion regarding a discovery dispute, a party must comply with the
discovery dispute resolution procedure outlined in the Initial Order entered in this action. After
conferring in person or via telephone pursuant to that procedure, but before a motion regarding a
discovery dispute is filed, the parties may request a conference with the undersigned, if they
believe a conference may resolve their dispute without resort to a motion.
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8.   Other Agreements Incorporated: The report of parties may memorialize agreements
     not reflected here, such as due dates for various discovery responses. This order
     incorporates any such agreements to the extent they do not conflict with the express terms
     of this order.


     DONE this 19th day of October, 2018.




                                          _______________________________
                                          JOHN H. ENGLAND, III
                                          UNITED STATES MAGISTRATE JUDGE




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